Filed 02/14/19                         Case 17-13797                               Doc 1096



                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES
           _____________________________________________________________________
           Case Title: Tulare Local           Case No.: 17-13797 - B - 9
           Healthcare District
                                              Docket Control No. FWP-1
                                              Date: 02/14/2019
                                              Time: 9:30 AM

           Matter: [993] - Motion/Application for Administrative Expenses
           [FWP-1] Filed by Creditors Cerner Corporation, Cerner Health
           Services, Inc. (kwis)

           Judge: René Lastreto II
           Courtroom Deputy: Debbie Chavez
           Reporter: Not Recorded
           Department: B
           _____________________________________________________________________
           APPEARANCES for:
           Movant(s):
           None
           Respondent(s):
           None
           _____________________________________________________________________
                                       CIVIL MINUTES
           HEARING TO BE HELD ON 3/6/2019 at 9:30 AM at Fresno Courtroom 13,
           Department B




           The court already issued an order. Doc. #1066.
